            Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 1 of 9




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               Plaintiff,


       V.                                      CRIMINAL ACTION NO.: 1:21CR00222-002



GEORGE PIERRE TANIOS,

               Defendant.

                      DEFENDANT’S SENTENCING MEMORANDUM

                                            I. INTRODUCTION

       The Defendant, GEORGE PIERRE TANIOS, faces 0-6 months in prison under the

Federal Sentencing Guidelines for two offenses: Entering or Remaining in a Residential

Building or Grounds, under 18 USC §§ 1752(a)(1) and (b)(2), and Disorderly and Disruptive

Conducted in a Restricted Building or Grounds, under 18 USC §§ 1752(a)(2) and (b)(2). Both

crimes occurred on January 6, 2021, outside the U.S. Capitol Building. Mr. Tanios accepts

responsibility in full for both offenses.

       Today, Mr. Tanios is employed and lives an ordinary life with his family in Morgantown,

West Virginia. 1 He has been fully compliant with the conditions of release and has had no

further difficulties with law enforcement or the justice system. Mr. Tanios has minimal criminal

history and did not have an aggravating role on January 6. Having served over five months in

jail, Mr. Tanios respectfully requests that this Court impose a sentence of time served.



1
  To give this Court a better idea of Mr. Tanios’s character and the family’s lifestyle, the defense
team produced a mitigation video in aid of sentencing in Mr. Tanios’s home, which is available
for viewing at https://youtu.be/dyFC8SN71qE.
                                                 1
          Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 2 of 9




                                      II.    BACKGROUND

        The background of this case is extensive and well known to the parties and to this Court.

It began as a complicated January 6 case with a ten-count Indictment. Yet, the parties reached a

pretrial settlement.

        On July 27, 2022, the Government filed a filed a two-count Superseding Information

charging Mr. Tanios with Entering and Remaining in a Restricted Building or Grounds, in

violation of 18 USC §§ 1752(a)(1) and (b)(2) (Count One) and Disorderly and Disruptive

Conduct in a Restricted Building or Grounds, in violation of 18 USC §§ 1752(a)(2) and (b)(2)

(Count Two). On September 1, 2022, pursuant to a written plea agreement, Mr. Tanios entered

pleas of guilty to these two misdemeanors.

        The underlying facts are straightforward. Mr. Tanios lives in Morgantown, West

Virginia. On January 6, 2021, codefendant Julian Khater drove from New Jersey to pick up Mr.

Tanios in West Virginia, and they traveled to Washington, DC, to protest the certification of the

Electoral College by Congress. On January 5, 2021, Mr. Tanios purchased two cannisters of

Frontiersman bear deterrent and two additional cannisters of pepper spray. Mr. Tanios was in

contact with Mr. Khater prior to this purchase. Mr. Tanios provided one of the pepper spray

cannisters to Mr. Khater prior to arriving in Washington, DC.

        On January 6, 2021, Mr. Tanios, Mr. Khater, and other protestors attended

the “Stop the Steal” rally and then proceeded to the United States Capitol. At 2:09 p.m., Mr.

Tanios was walking on restricted grounds, from the south grassy area of the United States

Capitol grounds toward the Lower West Terrace. Mr. Khater was walking behind Mr. Tanios.

After separating briefly, Mr. Tanios and Mr. Khater reunited at approximately 2:14 p.m. near the

police barricade near the steps on the south side of the Lower West Terrace.


                                                2
          Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 3 of 9




       At approximately that time, Mr. Khater told Mr. Tanios, “Give me that bear shit,” and

then reached his hand into Mr. Tanios’s backpack and retrieved a white canister of spray. Video

surveillance showed United States Capitol Police (USCP) Officers B.S. and C.E., and

Metropolitan Police Department (MPD) Officer D.C., who were standing within a few feet of

Mr. Khater, all appear to react to being sprayed in the face by Mr. Khater. For his part, while

trespassing in the restricted grounds of the Capitol, Mr. Tanios encouraged rioters, videotaped

the rioters assaulting police, and, thus, engaged in disruptive conduct.

       The Guidelines are reasonable here. There is no request for a downward variance and no

request for probation. Having served over five months in jail, time served is appropriate. Still,

undersigned counsel has identified four significant mitigating factors. There may be others, but

it appears that Mr. Tanios’s (1) family circumstances, (2) post-offense rehabilitation, (3) low risk

of recidivism, and (4) acceptance of responsibility are the salient features of the case which this

Court can and should consider at sentencing.

                                III.    MEMORANDUM OF LAW

       After United States v. Booker, 543 U.S. 220 (2005), sentencing courts must exercise their

discretion to impose sentences that are “reasonable” when viewed in light of the purposes of

federal sentencing -- retribution, deterrence, incapacitation and rehabilitation. A sentence is

reviewed for reasonableness, applying an abuse of discretion standard. Gall v. United States,

128 S.Ct. 586, 597 (2007). The Court has the ability to impose a downward sentence and it will

be upheld unless “it is unreasonable, even if the sentence would not have been the choice of the

appellate court.” United States v. Evans, 526 F.3d 155, 160 (4th Cir. 2008).

       Yet, the “overarching instruction” of 18 U.S.C. § 3553(a) is to “‘impose a sentence

sufficient, but not greater than necessary,’ to accomplish the goals of sentencing.” Kimbrough v.


                                                 3
          Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 4 of 9




United States, 128 S. Ct. 558, 570 (2007). Section 3553(a) lists six goals of sentencing: “to

reflect the seriousness of the offense,” “to promote respect for the law,” “to provide just

punishment for the offense,” “to afford adequate deterrence to criminal conduct,” “to protect the

public from further crimes of the defendant,” and “to provide the defendant with needed”

training, medical care, or treatment. 18 U.S.C. § 3553(a)(2). To achieve those goals, sentencing

courts must consider several factors, including “the nature and circumstances of the offense,”

“the history and characteristics of the defendant,” “the [guideline] range,” “any pertinent policy

statements,” and “the need to avoid unwarranted sentence disparities among defendants.” Id.

                                          IV. DISCUSSION

       1. Mr. Tanios’s family circumstances.

       Mr. Tanios is an extremely family oriented defendant. Mr. Tanios was raised by his

parents, in New Jersey. His parents were refugees who fled Lebanon in 1980, after the start of

the Lebanese Civil War, which resulted in an exodus of almost one million people. His parents

built a business, G & P Lebanese Restaurant, in downtown, New Brunswick, New Jersey,

adjacent to the Middlesex County Courthouse. They ran this business and worked hard for over

three decades to support Mr. Tanios and his siblings and send them to private schools.

       In a short period of time, the Tanios family developed a very positive reputation in the

community. Not only were they active members of the business community, they were also

founding members of a local Maronite church, where Mr. Tanios was the first child to be

baptized in 1981. Naturally, Mr. Tanios’s childhood was devoid of any abuse, there were no

drugs, and he never witnessed any domestic violence. During childhood, Mr. Tanios played with

his siblings and cousins after school and attended church and youth group events each week. He




                                                 4
            Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 5 of 9




played football, basketball, soccer, and baseball during his teenage years. Also, Mr. Tanios

helped in the family’s restaurant where he developed his own work ethic.

       In 2005, Mr. Tanios relocated to State College, Pennsylvania, to open his own restaurant.

In 2006, Mr. Tanios moved to West Virginia to open another restaurant and he remained in West

Virginia.

       Mr. Tanios has never married, but he has been in a relationship with Ms. Amanda

Plumley for twelve years. They were engaged in 2015, but they do not have a wedding date, due

to this case. Mr. Tanios and Ms. Plumley live together in a small, but comfortable townhome in

a typical residential neighborhood in Morgantown, West Virginia. They have three minor

children.

       Ms. Plumley, age 37, who worked with Mr. Tanios in the restaurant business for years,

now cleans houses for a living. Mr. Tanios resells items on eBay from home and takes care of

their children during the day. The children are healthy and doing well. Undersigned counsel has

spent a considerable amount of time with Mr. Tanios and his family. It is obvious that his

children, E.T., age 6, F.T., age 2, and C.T., age 2, love Mr. Tanios. Their favorite activities

include going to the local park to play and, when the weather is warm, swimming in the pool in

their neighborhood. Mr. Tanios reports that he an “amazing” relationship with his sons. We

have interviewed several family members who all agree Mr. Tanios cares deeply about his

family and works hard to support his children. Mr. Tanios has been described by Ms. Plumley

and many others as a loving, caring father and partner.

       For reasons that are self-evident, Mr. Tanios’s family needs him at home. Additional

prison time is unnecessary, and any separation would create a substantial hardship upon Ms.




                                                 5
            Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 6 of 9




Plumley and his children, which is something this Court can and should consider under 18

U.S.C. § 3553(a)(1).

       2.    Mr. Tanios’s post-offense rehabilitation.

       Mr. Tanios has demonstrated that he is rehabilitated and can comply with the law. FBI

agents arrested Mr. Tanios at his home on March 14, 2021. This Court released him on personal

recognizance on August 20, 2021. Since then, Mr. Tanios participated in this Court’s High

Intensity Supervision Program. Undersigned counsel confirmed with the supervising U.S.

Probation Officer that Mr. Tanios has been fully compliant with the conditions of release. Mr.

Tanios attended all hearings before this Court. He has cooperated with and remained in contact

with undersigned counsel and the defense team. Mr. Tanios has cared for his children and

strengthened his relationship with Ms. Plumley. He discovered new ways to work and support

his family. He started to exercise and lost weight. He does not use drugs and he does not drink

alcohol, but for a special occasion. He has not had any difficulties with law enforcement. It is

evident that Mr. Tanios is leading a law-abiding life now, that he has the proper mindset and an

appropriate respect for the law. Accordingly, we submit that additional incarceration is not

warranted because any necessary correction and rehabilitation have been successfully achieved.

18 U.S.C. § 3553(a)(2)(D).

       3.    Mr. Tanios’s low risk of recidivism.

       By any measure, Mr. Tanios presents a low risk of reoffending. He is not a felon. He has

one criminal history point based upon a misdemeanor charge in West Virginia from 2010. He

has never been previously charged, much less convicted, of a crime of violence. Mr. Tanios

demonstrates a remarkable work ethic. His professional experience is impressive. For over a

decade, he built businesses and employed people. In this way, he served, developed, and


                                                6
          Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 7 of 9




contributed to the community in Morgantown, West Virginia. As indicated, Mr. Tanios does not

use controlled substances and rarely drinks alcohol. He has a stable home, a supportive family,

and, even though his business closed during his incarceration, he is employed.

       Indeed, Mr. Tanios has not lived a life of crime and there is nothing to suggest that he

will offend again. Many friends, family members and business associates who know him well

related during interviews that Mr. Tanios is an honorable person of good character. To date, Mr.

Tanios has been punished though over five months of incarceration. This term of incarceration

has been sufficient to deter Mr. Tanios and others who might consider engaging in similar

misdemeanor offenses. Accordingly, additional incarceration would amount to a sentence which

is greater than necessary given that, in essence, Mr. Tanios is a first-time offender and otherwise

leads a normal and ordinary life. 18 U.S.C. § 3553(a)(2)(B) & (C).

       4. Mr. Tanios accepts responsibility.

       Contrition matters here. January 6, 2021, was a terrible and shocking day. The events of

January 6 caused trauma and destruction. What’s more, people died. Truly, the events of

January 6 changed the course of our nation’s history. Mr. Tanios was present and he committed

two crimes, but he did not have a major role. For instance, he did not enter the U.S. Capitol

building. He did not destroy property. He did not engage in violence. He did not assault law

enforcement officers and he did not plan to do so.

       Still, Mr. Tanios fully recognizes the wrongfulness of his conduct and the magnitude of

January 6. He deeply regrets entering the Capitol grounds, trespassing, encouraging rioters, and

promoting the chaos by recording it with his iPhone. Mr. Tanios knows it was wrong to be there

during the riot. He apologizes to this Court. While his expression of contrition cannot change

the events of January 6, as this Court knows, it is critical for defendants to acknowledge their


                                                 7
          Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 8 of 9




wrongdoing in order for all involved to move forward. Mr. Tanios expresses his regret in the

most sincere and respectful way possible and fully intends to pay his fair share of restitution so

that, at the very least, the damage to federal property can be repaired. 18 U.S.C. § 3553(a)(7).

                                         V. CONCLUSION

       Based upon all the reasons discussed above, the applicable Federal Sentencing Guidelines,

and the factors to be considered under 18 U.S.C. § 3553(a), Mr. Tanios asks this Court to consider

a sentence of time served.



                                                             Respectfully submitted,

                                                             GEORGE PIERRE TANIOS

                                                             By Counsel




By:    s/ L. Richard Walker
       L. Richard Walker
       DC Bar No. 473100
       Federal Public Defender Office
       230 West Pike Street; Suite 360
       Clarksburg, West Virginia 26301
       Tel: (304) 622-3823
       Fax: (304) 622-4631
       E-Mail: richard_walker@fd.org

By:    /s/ Elizabeth B. Gross
       WV State Bar No. 11567
       Federal Public Defender Office
       230 West Pike Street, Suite 360
       Clarksburg, West Virginia 26302
       Tel. (304) 622-3823
       E-Mail: Beth_gross@fd.org




                                                 8
          Case 1:21-cr-00222-TFH Document 94 Filed 01/23/23 Page 9 of 9




                                CERTIFICATION OF SERVICE

       I certify that on January 23, 2023, I have filed the foregoing with the Clerk’s office using

the electronic filing system. A copy will be emailed to opposing counsel listed below:



                                        Gilead I. Light
                                               &
                                     Anthony F. Scarpelli
                                       609 D Street, NW
                                    Washington, DC 20816
                                    (202) 252-6880 - Light
                                  (202) 252-7707 - Scarpelli
                                    gilead.light@usdoj.gov
                                 anthony.scarpelli@usdoj.gov




By:    s/ L. Richard Walker
       L. Richard Walker
       DC Bar No. 473100
       Attorney for Defendant
       Federal Public Defender Office
       230 West Pike Street; Suite 360
       Clarksburg, West Virginia 26301
       Tel: (304) 622-3823
       Fax: (304) 622-4631
       E-Mail: richard_walker@fd.org

By:    /s/ Elizabeth B. Gross
       WV State Bar No. 11567
       Federal Public Defender Office
       230 West Pike Street, Suite 360
       Clarksburg, West Virginia 26302
       Tel. (304) 622-3823
       E-Mail: Beth_gross@fd.org




                                                9
